Case 5:24-cv-00703-PCP Document 20-5 Filed 03/29/24 Page 1 of 53




 EXHIBIT 5
       Case 5:24-cv-00703-PCP
            4:21-cv-10694-TSH Document 13-1
                                       20-5 Filed 09/20/21
                                                  03/29/24 Page 2 of 53

                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

Rothschild Broadcast Distribution Systems,         §
LLC                                                §
                                                   §
        Plaintiff,                                 §           Case No: 4:21-cv-10694
                                                   §
w.                                                 §           PATENT CASE
                                                   §
WizIQ, Inc                                         §
                                                   §
      Defendant .                                  §
________________                                   §


                                 AFFIDAVIT OF JAY JOHNSON

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STA TE OF -+-/__,,,.~~'C/.....,,.,S:'----      )

Jay Johnson, lead attorney for Plaintiff, Rothschild Broadcast Distribution Systems, LLC, being
duly sworn, deposes and states as follows:


        1.      My name is Jay Johnson. I am the lead attorney for Rothschild Broadcast

Distribution Systems, LLC ("RBDS"). As such, I have knowledge regarding the statements

made herein.

       2.       I am a competent person.

       3.       On April 26, 2021, RBDS filed a complaint against WizIQ, Inc ("Defendant")

alleging infringement of U.S. Patent No. 8,856,221 ("the '221 Patent"). See, Exhibit A,

Complaint.

       4.       To date, Defendant has not responded to the complaint.

       5.       On August 20, 2021, a clerk's entry of default as to liability was entered in favor

ofRBDS.

       6.      The defaulting party is not an infant or incompetent.
      Case 5:24-cv-00703-PCP
           4:21-cv-10694-TSH Document 13-1
                                      20-5 Filed 09/20/21
                                                 03/29/24 Page 3 of 53



          7.     The Servicemembers Civil Relief Act (50 U.S.C. App. §§ 3901 et seq) does not

 apply.

          8.    In evaluating damages for patent infringement several factors must be examined

 including, but not limited to:

                a. The Defendant's usage of the technology that the subject patent covers, and

                b. The Defendant's revenue derived from that usage.

          9.    Without the benefit of discovery from the Defendant but based on research and

belief including the attached preliminary claim chart and evidence of use, RBDS believes that

Defendant has relied upon and utilized the technology embodied in the '221 Patent for a

substantial portion of Defendant's business. See, Exhibit B, Claim Chart.

          10.   Based on revenue figures stated on Zoominfo.com, Defendant's annual revenue is

$44 Million. See, Exhibit C, Zoomlnfo screengrab.

       11.      Upon information and belief, per Defendant's YouTube video demonstrating its

NextGen solution, Defendant has been using its technology covered by the '221 Patent since at

least November 18, 2017. See, Exhibit D, YouTube screengrab.

       12.      Without the benefit of discovery and based on information and belief including

Exhibits A through D, RBDS believes that Defendant has relied upon and utilized the

technology embodied in the '221 Patent for a substantial portion of Defendant's business.

       13.      It is generally well known and accepted that average royalty rates for patent

licensing range from 3 to 6 percent of gross sales. Moreover, these rates are consistent with the

information that the Plaintiff has been aware of for many years.
       Case 5:24-cv-00703-PCP
            4:21-cv-10694-TSH Document 13-1
                                       20-5 Filed 09/20/21
                                                  03/29/24 Page 4 of 53



       14.     Plaintiff acknowledges that several factors could reduce the damages amount,

including the percentage of the accused technology as compared to Defendant's entire product

base, as well as the fact that Plaintiff has been licensing the asserted patent(s) to other parties.

       15.     Based at least on the foregoing, RBDS believes that a reasonable royalty in this

case can be calculated as follows:

               a. Defendant utilizing the technology embodied in the '221 Patent to produce

                   25% of its revenue. That revenue is 11 Million U.S.D. per year.

               b. Defendant should be assessed a conservative 3% royalty on its usage.

               c. Defendant's use of the covered technology has existed for at least 4 years.

                   See, Exhibit D, Y ouTube screengrab.

               d. Based on the above factors, RBDS calculates a reasonable royalty of 1.32

                   Million U.S.D. solely for past infringement over the last 4 years.

               e. Attorney's fees and costs in this case is $10,000.00 U.S.D.

               f. Thus, reasonable royalty as calculated above is 1.32 Million U.S.D. plus

                   $10,000.00 [attorney's fees and costs], equaling 1.33 Million U.S.D.

       16.     Alternatively, RBDS has previously licensed the '221 Patent with one-time

payments ranging from $6,000.00 U.S.D. to $40,000.00 U.S.D., in exchange for a license for

the life of the '221 Patent.

       17.     In sum, RBDS believes that the appropriate measure of damages should be $1.33

Million U.S.D, but no less than $40,000.00 U.S.D.
         Case 5:24-cv-00703-PCP
              4:21-cv-10694-TSH Document 13-1
                                         20-5 Filed 09/20/21
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     4:21-cv-10694-TSH Document 13-1
                                20-5 Filed 09/20/21
                                           03/29/24 Page 6 of 53




               EXHIBIT A
        Case
         Case5:24-cv-00703-PCP
             4:21-cv-10694-TSH
               4:21-cv-10694-TSH Document
                                  Document13-1
                                          20-5
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                                               Filed04/26/21
                                                     09/20/21
                                                     03/29/24 Page
                                                               Page1 7ofof1953




                         THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

                Plaintiff,
                                                       CIVIL ACTION NO. 21-10694
      v.
 WIZIQ, INC.,
                                                       JURY TRIAL DEMANDED
                Defendant.




                                          COMPLAINT


       Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or “Rothschild

Broadcast Distribution Systems”) files this complaint against WizIQ, Inc. (“WizIQ”) for

infringement of U.S. Patent No. 8,856,221 (hereinafter the “`221 Patent”) and alleges as follows:

                                            PARTIES

1.     Plaintiff is a Texas limited liability company with an office at 1 East Broward Boulevard,

Suite 700, Ft. Lauderdale, FL 33301.

2.     On information and belief, Defendant is a Delaware corporation, with a place of business

at #2 On the Common, Royalston, MA 01368. On information and belief, Defendant may be

served through its agent, Corporation Service Company, 251 Little Falls Drive, Wilmington, DE

19808, or its agent, Christopher Dawson, at #2 On the Common, Royalston, MA 01368.

                                JURISDICTION AND VENUE

3.     This action arises under the patent laws of the United States, 35 U.S.C. § 271 et seq.

Plaintiff is seeking damages, as well as attorney fees and costs.
        Case
         Case5:24-cv-00703-PCP
             4:21-cv-10694-TSH
               4:21-cv-10694-TSH Document
                                  Document13-1
                                          20-5
                                           1 Filed
                                               Filed04/26/21
                                                     09/20/21
                                                     03/29/24 Page
                                                               Page2 8ofof1953




4.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal Question) and

1338(a) (Patents).

5.      On information and belief, this Court has personal jurisdiction over Defendant because

Defendant has committed, and continues to commit, acts of infringement in this District, has

conducted business in this District, and/or has engaged in continuous and systematic activities in

this District.

6.      Upon information and belief, Defendant’s instrumentalities that are alleged herein to

infringe were and continue to be used, imported, offered for sale, and/or sold in the District.

7.      Venue is proper in this District under 28 U.S.C. §1400(b) because Defendant is deemed to

be a resident in this District. Alternatively, acts of infringement are occurring in this District and

Defendant has a regular and established place of business in this District.

                                         BACKGROUND

8.      On October 7, 2014, the United States Patent and Trademark Office (“USPTO”) duly and

legally issued the `221 Patent, entitled “System and Method for Storing Broadcast Content in a

Cloud-Based Computing Environment” after the USPTO completed a full and fair examination.

The ‘221 Patent is attached as Exhibit A.

9.      Rothschild Broadcast Distribution Systems is currently the owner of the `221 Patent.

10.     Rothschild Broadcast Distribution Systems possesses all rights of recovery under the `221

Patent, including the exclusive right to recover for past, present and future infringement.

11.     The `221 Patent contains thirteen claims including two independent claims (claims 1 and

7) and eleven dependent claims.
        Case
         Case5:24-cv-00703-PCP
             4:21-cv-10694-TSH
               4:21-cv-10694-TSH Document
                                  Document13-1
                                          20-5
                                           1 Filed
                                               Filed04/26/21
                                                     09/20/21
                                                     03/29/24 Page
                                                               Page3 9ofof1953




                                       COUNT ONE
                     (Infringement of United States Patent No. 8,856,221)

12.    Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 11, the same as if set

forth herein.

13.    This cause of action arises under the patent laws of the United States and, in particular

under 35 U.S.C. §§ 271, et seq.

14.    Defendant has knowledge of its infringement of the `221 Patent, at least as of the service

of the present complaint.

15.    The ‘221 Patent teaches a method and apparatus for media content storage and delivery.

‘221 Patent, Abstract. Among other things, the claimed system includes a server, which has a

receiver in communication with a processor. Id. The receiver receives a request message. Id. The

request message includes media data indicating requested media content and a consumer device

identifier corresponding to a consumer device. Id. The processor determines whether the consumer

device identifier corresponds to a registered consumer device. Id. If the processor determines that

the consumer device identifier corresponds to the registered consumer device, then the processor

determines whether the request message is one of a storage request message and a content request

message. Id. If the request message is the storage request message, then the processor is further

configured to determine whether the requested media content is available for storage. Id. If the

request message is the content request message, then the processor initiates delivery of the

requested media content to the consumer device. Id.

16.    The present invention solves problems that existed with then-existing media delivery

systems. One problem with prior delivery systems is that the customer was charged according to

the expenses of the provider rather than the usage of the customer. ‘221 Patent, 1:31-57.

Customers were not charged based on the amount of programming delivered or the amount or
         Case
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              5:24-cv-00703-PCP
              4:21-cv-10694-TSH
                4:21-cv-10694-TSHDocument
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                                          13-1
                                          20-5
                                            1 Filed
                                               Filed04/26/21
                                                     09/20/21
                                                     03/29/24 Page
                                                               Page410
                                                                     of of
                                                                        1953




duration of the customer’s storage of media. Id. Another such problem, more generally, is that

customers were not billed and services were not provided, in a way that was tailored to the

customer’s needs and usage. Id., 2:3-13.

17.      A number of aspects of the invention(s) embodied in the ‘221 Patent overcome the

problems with the prior art.      For example, the inventive system includes a processor in

communication with a receiver. Id., 2:23-34.         The processor determines media content

characteristics that correspond to the media content to be stored. Id. The processor determines a

length of time to store the media content based on the media data and determines a cost amount

based at least in part on the determined media content characteristics and length of time to store

the media content. Id. As another example, the system makes a determination that media content

is available for download. Id., 2:64-3:2. A determination is made that content is not stored.

Download of the media content is initiated. Id. The media content is received and the received

media content is stored. Id.

18.      The ‘221 Patent is directed to computerized technologies to provide users with tailored

media delivery systems and tailored billing for such systems. Among other things, the ‘221 Patent

claims include sending and receiving of request messages indicating requested media content and

including a device identifier corresponding to a consumer device. A determination is made

whether the identifier corresponds to the device. A determination is also made as to whether the

request is for delivery or storage. The media data in the request includes time data that indicates

a length of time for storage. A processor is configured to determine whether requested media

exists and whether there are any restrictions associated with delivery or storage of the requested

media.
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            4:21-cv-10694-TSH
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                                             Filed04/26/21
                                                   09/20/21
                                                   03/29/24 Page
                                                             Page511
                                                                   of of
                                                                      1953




19.     The system(s) and methods of the ‘221 Patent include software and hardware that do not

operate in a conventional manner. For example, the software is tailored to provide functionality

to perform recited steps and the processor is configured (and/or programmed) to provide

functionality recited throughout the claims of the ‘221 Patent.

20.     The ‘221 Patent solves problems with the art that are rooted in computer technology and

that are associated with electronic transmission, loading, and storage of location information, as

well as automatic provisioning of route guidance. The ‘221 Patent claims do not merely recite the

performance of some business practice known from the pre-Internet world along with the

requirement to perform it on the Internet.

21.     The improvements of the ‘221 Patent and the features recited in the claims in the ‘221

Patent provide improvements to conventional hardware and software systems and methods. The

improvements render the claimed invention of the ‘221 Patent non-generic in view of conventional

components.

22.     The improvements of the ‘221 Patent and the features recitations in the claims of the ’221

Patent are not those that would be well-understood, routine or conventional to one of ordinary skill

in the art at the time of the invention.

23.     Accordingly, Defendant has infringed, and continues to infringe, the `221 Patent in

violation of 35 U.S.C. § 271. Upon information and belief, Defendant has infringed and continues

to infringe one or more claims, including at least Claim 7, of the ‘221 Patent by making, using,

importing, selling, and/or offering for media content storage and delivery systems and services

covered by one or more claims of the ‘221 Patent.

24.     Defendant sells, offers to sell, and/or uses media content storage and delivery systems and

services, including, without limitation, the WizIQ video conferencing platform, any associated
          Case
            Case
               5:24-cv-00703-PCP
               4:21-cv-10694-TSH
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                                                Filed04/26/21
                                                      09/20/21
                                                      03/29/24 Page
                                                                Page612
                                                                      of of
                                                                         1953




hardware, software and apps, as well as any similar products (“Product”), which infringe at least

Claim 7 of the ‘221 Patent.

25.       The Product practices a method of storing (e.g., cloud storage) media content (e.g.,

conference recording) and delivering requested media content (streaming video conferencing,

recorded videos, chats, texts, etc.) to a consumer device (e.g., mobile device with WizIQ app or

software). Certain aspects of these elements are illustrated in the screenshots below and/or in those

provided in connection with other allegations herein.


               LaunchonlinecourseswithWizlQLMSsoftwarewithinminutes
                     Create, deliver and sell courses seamlessly from your self-branded cloud LMS


                                                         Start free trial


Source: https://www.wizig.com/lms-software/


           An LMS Software (such as WizlQ's) can be cloud-based, thereby reducing setup,
           installation and maintenance costs, efforts, and time. A learning management
           system lets you manage all aspects of instruction and learning including course
           creation, course management, live classes, test and assessments, analytics,
           eCommerce,as well as mobile learning.

Source: https://www.wiziq.com/lms-software/


      WizlQ is an easy way to teach and train online. It's a cloud-based learning delivery platform with a suite of integrated
      features - including virtual classroom, course management,content authoring, video streaming, tests and
      assessments, insights and analytics and mobile learning.


Source: https://www.wizig.com/about-us/
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            4:21-cv-10694-TSH
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                                                   09/20/21
                                                   03/29/24 Page
                                                             Page713
                                                                   of of
                                                                      1953




            Cloud-based: This is an off-premise option, known as Saas - Software as a Service. It is hosted in the cloud,
            and you practically don't need anything on-site other than a basic computing device and an internet
            connection. The customizations can be done only by your service provider. With the cloud-based option, you
            can go live within minutes after you purchase your subscription. It works like any rented service and can be
            started, stopped and scaled at any time. That's how WizlQ works.


Source: https://www.wi,ziq.com/virtual-classroom/


                                                      Integrated library

             Upload, organize and store your content in the cloud and access it from anywhere at anytime. The
             integrated library supports all types of files, saving the hassle of transferring and carrying data. Upload
             text, audio, video, PPT, and HTML files in different formats (PDF,DOC, DOCX,XLS, XLSX, PPT,PPTX, WAV,
             WMA, MP3, MOV, AVG, MPEG, WMV, MP4, JPEG, GIF, PNG). The cloud storage saves the hassle of
             transferring and carrying data. It's easy to search for content and share It with your audience. Also, once a
             content resource is uploaded to the library, you can reuse it for different classes.


Source: https://www.wi,zig.com/virtual-classroom/


          Performs real-time audio and ideo recording in the background ,, hen instnictors are
          livestreaming their classes. This feature enables the instnictors to create a recording of all the
          activities they perform 011 tbe \: izl     s r n. The r cordings are available in the 1P4 format
          within th Library ar a of th instructors. urther. th instructors can shar the recordings with
          their learners or sav them for futur use. 8 default. all re ordings ar a ailabl in D (6 Op :
          HD 720p and full-HD 1080p) video recording capabilities are available in the Enterprise
          pricing plan.


Source: https://help.wizig.com/portal/en/kb/artides/live-class-schedulinq-and-it-s-features


26.     The Product necessarily includes a receiver configured to receive a request message

including data indicating requested media content (e.g., the Product must have infrastructure to

receive a request to store recorded media content or to stream recorded media content on a

smartphone; additionally, the request message must contain data that identifies the content to be

stored or streamed) and a consumer device identifier corresponding to a consumer device (e.g., the

user credentials are used to access the contents of the Product). Certain aspects of these elements

are illustrated in the screenshots below and/or in those provided in connection with other

allegations herein.
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              4:21-cv-10694-TSH
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                                          13-1
                                          20-5
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                                               Filed04/26/21
                                                     09/20/21
                                                     03/29/24 Page
                                                               Page814
                                                                     of of
                                                                        1953




                                        ACA




                        World's first fully brand-able mobile apps

                       WizlQNetGencomeswith the world'sfirst fully customizableand
                       brand-ablemobile learningapplicationsfor iOSand Android.
                       Createbrandedlearningexperiencesand reachyour audience
                       right on their smartphones.

Source: https://www.wizig.com/wizig-nextgen/


      P rfonns real-rimeaudio and vid o r ording in the ba kgroundwhen instru tors are
      livesrreami.112 their lasses. This feanireenables the instmctors10 reatea recordin2of all die
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      within th Libraryar a ofrh insrn1ctors.Funher.th instmcto can sharedie recordingswith
      di ir learne or sav them for funireuse. B default.all re ordingsar available i.11   SD (640p):
      HD 7_0p) and full-HD 10 Op video recordingcapabilitiesare available in the Enterprise
      pricingplan.

Source: https://help.wizig.com/portal/en/kb/articles/live-class-scheduling-and-it-s-features



   An LMS Software (such as WizlQ's) can be cloud-based, thereby reducing setup,
   installation and maintenance costs, efforts, and time. A learning management
   system lets you manage all aspects of instruction and learning including course
   creation, course management, live classes, test and assessments, analytics,
   eCommerce, as well as mobile learning.

Source: https://www.wizig.com/I ms-software/


  WizlQ is an easy way to teach and train online. It's a cloud-based learning delivery platform with a suite of integrated
  features - including virtual classroom, course management, content authoring, video streaming, tests and
  assessments, insights and analytics and mobile learning.


Source: https://www.wizig.com/about-us/
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               5:24-cv-00703-PCP
               4:21-cv-10694-TSH
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                                                Filed04/26/21
                                                      09/20/21
                                                      03/29/24 Page
                                                                Page915
                                                                      of of
                                                                         1953




                                                Integrated library

      Upload, organize and store your content in the cloud and access it from anywhere at anytime. The
      integrated library supports all types of files, saving the hassle of transferring and carrying data. Upload
      text, audio, video, PPT, and HTML files in different formats {PDF,DOC,DOCX,XLS, XLSX, PPT. PPTX, WAV.
      WMA, MP3, MOV. AVG, MPEG, WMV, MP4, JPEG, GIF, PNG). The cloud storage saves the hassle of
      transferring and carrying data. It's easy to search for content and share it with your audience. Also, once a
      content resource is uploaded to the library, you can reuse it for different classes.

Source: https://www.wiziq.com/virtual-classroom/



                                   Wiz Q
                                   Sign in


                                   Email




                                                                       New User? s,gn up



Source: https://www.wiziq.com/sign-in/


27.        The Product necessarily determines whether the consumer device identifier corresponds to

the registered consumer device (e.g., a user must be a registered user to access the Product’s

services). Certain aspects of these elements are illustrated in the screenshots below and/or in those

provided in connection with other allegations herein.

28.        The Product provides for both media downloads and/or storage, and media streaming. After

a successful login, the Product necessarily determines whether the request received from a

customer is a request for storage (e.g., recording or storing content) or content (e.g., streaming of

media content). Certain aspects of these elements are illustrated in the screenshots below and/or

in those provided in connection with other allegations herein.
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               4:21-cv-10694-TSH Document
                                  Document13-1
                                          20-5
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                                               Filed04/26/21
                                                     09/20/21
                                                     03/29/24 Page
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   • Cloud-based:Thisis an off-premiseoption,knownas Saas - Softwareas a Service.It is hostedin the cloud,andyou
     practicallydon'tneedanythingon-siteotherthana basiccomputingdeviceand an internetconnection. The
     customizations
                  can be done onlybyyourserviceprovider.Withthe cloud-basedoption, youcan go livewithin minutes
     after youpurchaseyour subscnphon.It workshkeanyrentedserviceand can be started,stoppedand scaledat anytime.
     That'showWizlQworks.


Source: https://www.wiziq.com/virtual-classroom/




    Server-side recording

   The automatedserver-siderecording(SSR)works in the backgroundwhen a
   class is streaming live. The recording is captured directly on our server,which
   means it doesn't consume your device computing resources. As no upload
   happensfrom your and your attendees·devices,deliveringand attendingclasses
   on devices with low-end CPUs is possible. The recording is available in your
   Libraryin MP4 formatwithin minutesof the end of your session.Becausethe live
   session is capturedon our servers,internetspeed of attendeesdoes not impact
   the recordingquality. Multi-bitrate(MBR)streamingadapts live streamingto an
   attendee'sinternetbandwidthand CPUcapacity- hencevery little bufferingeven
   on low-endconnections.WhileSD(640p)recordingis a default feature,HD(720p)
   and full-HD (1080p) video recording capabilities are availablein the Enterprise
   plan.


Source: https://www.wizig.com/virtual-classroom/
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           Case5:24-cv-00703-PCP
               4:21-cv-10694-TSH
                 4:21-cv-10694-TSH Document
                                    Document13-1
                                            20-5
                                             1 Filed
                                                 Filed04/26/21
                                                       09/20/21
                                                       03/29/24 Page
                                                                 Page1117ofof1953




9.         The Product verifies that media content identified in the media data of the storage request

message (e.g., request to record content) is available for storage in order to prevent data errors that

would result from attempting to store content that is not available for storage. The Product must

verify that the media content (e.g. specific recording) identified in the media data of the storage

request message is available for storage in order to prevent data errors that would result from

attempting to store content that is not available for storage (e.g., the product must verify a user’s

ability to store media content is limited to a certain amount of time). If any media content is

streamed using a third party platform then it will be automatically stored in that particular platform.

Certain aspects of these elements are illustrated in the screenshots below and/or in those provided

in connection with other allegations herein.



                                                     Integrated library

      Upload, organize and store your content in the cloud and access it from anywhere at anytime. The
      integrated library supports all types of files, saving the hassle of transferring and carrying data. Upload
      text, audio, video, PPT, and HTML files in different formats (PDF,DOC,DOCX,XLS, XLSX, PPT,PPTX, WAV,
      WMA, MP3, MOV, AVG, MPEG, WMV. MP4, JPEG, GIF, PNG). The cloud storage saves the hassle of
      transferring and carrying data. It's easy to search for content and share it with your audience. Also, once a
      content resource is uploaded to the library, you can reuse it for different classes.

Source: https://www.wizig.com/virtual-classroom/


     • Cloud-based: This is an off-premise option, known as Saas - Software as a Service. It is hosted in the cloud, and you
       practically don't need anything on-site other than a basic computing device and an internet connection. The
       customizations can be done only by your service provider. With the cloud-based option, you can go live within minutes
       after you purchase your subscription. It works like any rented service and can be started, stopped and scaled at any time.
       That's how WizlQ works.

Source: https://www.wizig.com/virtual-classroom/



30.     If a customer requests content (e.g., live streaming of media content), then a processor within

the Product necessarily initiates delivery of the content to the customer’s device. The Product will

initiate delivery of the requested media content to the consumer device (e.g., stream media content
         Case
          Case5:24-cv-00703-PCP
              4:21-cv-10694-TSH
                4:21-cv-10694-TSH Document
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                                                Filed04/26/21
                                                      09/20/21
                                                      03/29/24 Page
                                                                Page1218ofof1953




feed to a smartphone or tablet etc.) if the request message is a content request message (e.g., request

for live streaming). Certain aspects of these elements are illustrated in the screen shots below

and/or in screen shots provided in connection with other allegations herein.




                                         A
                                                  -- ---
                             World's first fully brand-able mobile apps

                             WizlQNetGencomeswith the world'sfirst fully customizableand
                             brand-ablemobilelearningapplicationsfor iOSandAndroid.
                             Createbrandedlearningexperiencesand reachyour audience
                             right on their smartphones.

Source: https://www.wiziq.com/wiziq-nextgen/


  • Cloud-based: This is an off-premise option, known as Saas - Software as a Service. It is hosted in the cloud, and you
      practically don't need anything on-site other than a basic computing device and an internet connection. The
      customizations can be done only by your service provider. With the cloud-based option, you can go live within minutes
      after you purchase your subscription. It works like any rented service and can be started, stopped and scaled at any time.
      That's how WizlQ works.

Source: https://www.wizig.com/virtual-classroom/


31.       The media data includes date and time information to identify conference start and stop

times, as well as meeting length. Time data may also indicate a length of time to store the requested

media content (e.g. a user is allowed to store media content for a retention period configured by

the user per their subscription level). Certain aspects of these elements are illustrated in the

screenshots below and/or in those provided in connection with other allegations herein.
        Case
         Case5:24-cv-00703-PCP
             4:21-cv-10694-TSH
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                                  Document13-1
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  • Cloud-based: This is an off-premise option. known as Saas - Software as a Service. It is hosted in the cloud, and you
     practically don't need anything on-site other than a basic computing device and an internet connection. The
     customizations can be done only by your service provider. With the cloud-based option, you can go hve within minutes
     after you purchase your subscription. It works like any rented service and can be started, stopped and scaled at any time.
     That's how WizlQ works.

Source: https://www.wizig.com/virtual-classroom/

                                  WizlQ plans and pricing
                                 l'IIZIQpr ng 1 s from $2Stn   t (   led annually)


                                        LivaClassroom0                 LeamingM n gementSystem




Source: https://www.wiziq.com/pricing/

           Performs real-time audio and ideo recording in the background when instnictors are
           livestreaming their classes. This feanire enables the instn1ctors to create a recording of all the
           a ti ities the per orm on the \ izl        s re 11.Th re ordings , re vailnble in the 1P4 format
           within th Libra area of the instni to . urther. th i11stn1t           nu sh r th re ordings with
           their 1 , rn   or snv them for futur use. B d fault. all re ordings are a nilnbl in D 640p :
           HD 7_0p and full-HD (10 Op) video re ording capabilities ar available in the Enterprise
           pricing plan.


Source: https://help.wiziq.com/portal/en/kb/articles/live-class-scheduling-and-it-s-features
          Case
           Case5:24-cv-00703-PCP
               4:21-cv-10694-TSH
                 4:21-cv-10694-TSH Document
                                    Document13-1
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                                 Enterprise                                     Pay-per-Use
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                     ShafeanythingPPT.Video,Doc POF C
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                                                                           MP4recordingon the cloud      I
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                       Cl ss din ,on Up o 300 minutts
                                                                                W01bon nyd


Source: https://www.wizig.com/pricing/


32.       The Product must first determine whether the requested media content exists prior to

initiating delivery in order to prevent data errors that would result from attempting to transmit

media content that does not exist (e.g., the product must verify that a particular requested data is

stored in the cloud). Also, a user can view the history of media content and the processor can

identify the existence of that particular media content. Certain aspects of these elements are

illustrated in the screenshots below and/or in those provided in connection with other allegations

herein.
       Case
        Case5:24-cv-00703-PCP
            4:21-cv-10694-TSH
              4:21-cv-10694-TSH Document
                                 Document13-1
                                         20-5
                                          1 Filed
                                              Filed04/26/21
                                                    09/20/21
                                                    03/29/24 Page
                                                              Page1521ofof1953




       An LMS Software (such as WizlQ's) can be cloud-based, thereby reducing setup,
       installation and maintenance costs, efforts, and time. A learning management
       system lets you manage all aspects of instruction and learning including course
       creation, course management, live classes, test and assessments, analytics,
       eCommerce, as well as mobile learning.

Source: https://www.wizig.com/I ms-software/


       WizlQ is an easywayto teach and train online. It's a cloud•based learning delivery platform with a suite of integrated
       features - including virtual classroom, course management, content authoring, video streaming, tests and
       assessments, Insights and analytics and mobile learning.


Source: https://www.wizig.com/about-us/


                                                    Integrated library

       Upload, organize and store your content in the cloud and access it from anywhere at anytime. The
       integrated library supports all types of files, saving the hassle of transferring and carrying data. Upload
       text, audio, video, PPT, and HTML files in different formats (PDF,DOC, DOCX,XLS, XLSX, PPT,PPTX, WAV,
       WMA, MP3, MOV, AVG, MPEG, WMV, MP4, JPEG, GIF, PNG). The cloud storage saves the hassle of
       transferring and carrying data. It's easy to search for content and share it with your audience. Also, once a
       content resource is uploaded to the library, you can reuse it for different classes.

Source: https://www.wizig.com/virtual-classroom/


33. After the processor determines whether the requested media content is available, it determines

whether there are restrictions associated with the requested media content (e.g., user access

restrictions, etc.). Certain aspects of these elements are illustrated in the screenshots below and/or

those provided in connection with other allegations herein.
       Case
        Case5:24-cv-00703-PCP
            4:21-cv-10694-TSH
              4:21-cv-10694-TSH Document
                                 Document13-1
                                         20-5
                                          1 Filed
                                              Filed04/26/21
                                                    09/20/21
                                                    03/29/24 Page
                                                              Page1622ofof1953




                       World'sfirst fullybrand-ablemobileapps
                       WizlQNetGencomeswith the world'sfirst fully customizableand
                       brand-ablemobile learningapplicationsfor iOSand Android.
                       Createbrandedlearningexperiencesand reachyour audience
                       right on their smartphones.

Source: https://www.wizig.com/wizig-nextgen/

  • Cloud-based: This is an off-premise option. known as Saas - Software as a Service. It is hosted in the cloud, and you
    practically don't need anything on-site other than a basic computing device and an internet connection. The
    customizations can be done only by your service provider. With the cloud-based option, you can go live within minutes
    after you purchase your subscription. It works like any rented service and can be started, stopped and scaled at any time.
    That's how WizlQ works.

Source: https://www.wizig.com/virtual-classroom/
         Case
          Case5:24-cv-00703-PCP
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                4:21-cv-10694-TSH Document
                                   Document13-1
                                           20-5
                                            1 Filed
                                                Filed04/26/21
                                                      09/20/21
                                                      03/29/24 Page
                                                                Page1723ofof1953




                                                  Integrated library

         Upload, organize and store your content In the cloud and access it from anywhere at anytime. The
         integrated library supports all types of flies, saving the hassle of transferring and carrying data. Upload
         text, audio, video, PPT, and HTML files In different formats (PDF,DOC,DOCX,XLS, XLSX, PPT,PPTX, WAV,
         WMA, MP3, MOV, AVG, MPEG, WMV, MP4, JPEG, GIF, PNG). The cloud storage saves the hassle of
         transferring and carrying data. It's easy to search for content and share It with your audience. Also, once a
         content resource is uploaded to the library, you can reuse it for different classes.


Source: https://www.wizig.com/virtual-classroom/


              Server-side recording

              The automated server-side recording (SSR)works in the background when a
              class is streaming live. The recording is captured directly on our server, which
              means it doesn't consume your device computing resources. As no upload
              happens from your and your attendees' devices, delivering and attending classes
              on devices with low-end CPUs is possible. The recording is available in your
              Library in MP4 format within minutes of the end of your session. Because the live
              session is captured on our servers, internet speed of attendees does not impact
              the recording quality. Multi-bitrate (MBR) streaming adapts live streaming to an
              attendee's internet bandwidth and CPU capacity - hence very little buffering even
              on low-end connections. While SD (640p) recording is a default feature, HD (720p)
              and full-HD (1080p) videorecording capabilities are available in the Enterprise
              plan.

Source: https://www.wizig.com/virtual-classroom/



            Performs real-time audio and ideo recording in the background when instnictors are
            livestreaming their ch,sses. This feanire enables the instmctors to create a recording of all the
            a tivities th perform on the \ izl         scr en. The recordings are , ailable in the MP4 format
            within th Library, rea of the instm to . unher. th instn1c1 c, n sh, r the re rdings with
            their learners or save them for future use. B default. all recordings are available in D (640p):
            HD 720p and full-HD ( 10 Op) video recording capabilities are available in the Enterprise
            pricing plan.


Source: https://help.wiziq.corn/portal/en/kb/articles/live-class-schedulinq-and-it-s-features


34.    Defendant’s actions complained of herein will continue unless Defendant is enjoined by this

Court.

35. Defendant’s actions complained of herein is causing irreparable harm and monetary damage

to Plaintiff and will continue to do so unless and until Defendant is enjoined and restrained by this

Court.
       Case
        Case5:24-cv-00703-PCP
            4:21-cv-10694-TSH
              4:21-cv-10694-TSH Document
                                 Document13-1
                                         20-5
                                          1 Filed
                                              Filed04/26/21
                                                    09/20/21
                                                    03/29/24 Page
                                                              Page1824ofof1953




36.    The `221 Patent is valid, enforceable, and was duly issued in full compliance with Title 35

of the United States Code.

37.     A copy of the ‘221 Patent, titled “System and Method for Storing Broadcast Content in a

Cloud-based Computing Environment,” is attached hereto as Exhibit A.

38.    By engaging in the conduct described herein, Defendant has injured Plaintiff and is liable

for infringement of the `221 Patent, pursuant to 35 U.S.C. § 271.

39. Defendant has committed these acts of literal infringement, or infringement under the doctrine

of equivalents of the `221 Patent, without license or authorization.

40.   As a result of Defendant’s infringement of the `221 Patent, injured Plaintiff has suffered

monetary damages and is entitled to a monetary judgment in an amount adequate to compensate

for Defendant’s past infringement, together with interests and costs.

41.   Plaintiff is in compliance with 35 U.S.C. § 287.

42.   As such, Plaintiff is entitled to compensation for any continuing and/or future infringement

of the `221 Patent up until the date that Defendant ceases its infringing activities.

                                  DEMAND FOR JURY TRIAL

43.    Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal Rules of Civil

Procedure, requests a trial by jury of any issues so triable by right.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff asks the Court to:

(a) Enter judgment for Plaintiff on this Complaint on all cases of action asserted herein;


(b) Enter an Order enjoining Defendant, its agents, officers, servants, employees, attorneys, and

all persons in active concert or participation with Defendant who receives notice of the order from
          Case
           Case5:24-cv-00703-PCP
               4:21-cv-10694-TSH
                 4:21-cv-10694-TSH Document
                                    Document13-1
                                            20-5
                                             1 Filed
                                                 Filed04/26/21
                                                       09/20/21
                                                       03/29/24 Page
                                                                 Page1925ofof1953




further infringement of United States Patent No. 8,856,221 (or, in the alternative, awarding

Plaintiff running royalty from the time judgment going forward);


(c) Award Plaintiff damages resulting from Defendants infringement in accordance with 35 U.S.C.

§ 284;


(d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled under law or

equity.


Dated: April 26, 2021                              Respectfully submitted,
                                                   Attorneys for Plaintiff
                                                   Rothschild Broadcast Distribution Systems

                                                   /s/ Brendan M. Shortell
                                                   Brendan M. Shortell (BBO# 675851)
                                                   Lambert Shortell & Connaughton
                                                   100 Franklin Street, Suite 903
                                                   Boston, MA 02110
                                                   Telephone: 617.720.0091
                                                   Facsimile: 617.720.6307
                                                   shortell@lambertpatentlaw.com
Case 5:24-cv-00703-PCP
     4:21-cv-10694-TSH Document 13-1
                                20-5 Filed 09/20/21
                                           03/29/24 Page 26 of 53




                EXHIBIT B
                             Case 5:24-cv-00703-PCP
                                  4:21-cv-10694-TSH Document 13-1
                                                             20-5 Filed 09/20/21
                                                                        03/29/24 Page 27 of 53
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Attorney Work Product

                              Infringement ClaimChart
                              Infringement Claim Chartfor
                                                       forUS8856221
                                                           U.S. Pat. No. US8856221vs.
                                                                     v. Blue            WizIQ (“Defendant”)
                                                                             Jeans (“Defendant”)
     Claims                                                                       Evidence

7. A method for The defendant’s product WizIQ practices a method of storing (e.g. storage within the app) media content
storing    media (e.g. class videos and any downloadable material provided by teachers etc.) and delivering requested
content      and media content to a consumer device.
delivering
requested
media content to
a       consumer
device,      the
method
comprising:

                        Source: https://www.wiziq.com/lms-software/

                                 An LMS Software (such as WizlQ's) can be cloud-based, thereby reducing setup,
                                 installation and maintenance costs, efforts, and time. A learning management
                                 system lets you manage all aspects of instruction and learning including course
                                 creation, course management, live classes, test and assessments, analytics,
                                 eCommerce, as well as mobile learning.

                        Source: https://www.wiziq.com/lms-software/

                            WizlQ is an easy way to teach and train online. It's a cloud-based learning delivery platform with a suite of integrated
                            features - including virtual classroom, course management, content authoring, video streaming, tests and
                            assessments, insights and analytics and mobile learning.


                        Source: https://www.wiziq.com/about-us/


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                            Case 5:24-cv-00703-PCP
                                 4:21-cv-10694-TSH Document 13-1
                                                            20-5 Filed 09/20/21
                                                                       03/29/24 Page 28 of 53
Privileged & Confidential
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                                    Cloud-based: This is an off-premise option, known as Saas - Software as a Service. It is hosted in the cloud,

                                    and you practically don't need anything on-site other than a basic computing device and an internet
                                    connection. The customizations can be done only by your service provider. With the cloud-based option, you
                                    can go live within minutes after you purchase your subscription. It works like any rented service and can be
                                    started, stopped and scaled at any time. That's how WizlQ works.


                        Source: https://www.wiziq.com/virtual-classroom/


                                                                                Integrated library

                                    Upload, organize and store your content in the cloud and access it from anywhere at anytime. The
                                    integrated library supports all types of fries, saving the hassle of transferring and carrying data. Upload
                                    text, audio, video, PPT, and HTML fries in different formats (PDF, DOC, DOCX,XLS, XLSX, PPT, PPTX, WAV,
                                    WMA, MP3, MOV, AVG, MPEG, WMV, MP4, JPEG, GIF, PNG). The cloud storage saves the hassle of
                                    transferring and carrying data. It's easy to search for content and share it with your audience. Also, once a
                                    content resource is uploaded to the library, you can reuse it for different classes.


                        Source: https://www.wiziq.com/virtual-classroom/


                                  Perfo ms al-time imdio and video recording i 1 the backgrou !ldwhen instru.ctors a.re
                                  liivestreamtng thell' class,es. This feanu-e enables he instmctors to create a recording of all d11.e
                                  acti- i i s they perform on ·rheV izIQ        scr-een. he r-ecordings are a ailable iu the MP I format
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                                  within d1. Library a.re·aof the •nstructors. urdler t!1einstructorscan slla.reth re. ordjn s with
                                  th,eir ]earners or save them for futtue use. By default, aJl recordings are available in SD (640p):
                                  HD ' 20p and full-HD 1080p) vid,eo recording capabiJities a.re a, ailable in the .Enrerp.rise
                                  pri i11gplan.


                        Source: https://help.wiziq.com/portal/en/kb/articles/live-class-scheduling-and-it-s-features


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                            Case 5:24-cv-00703-PCP
                                 4:21-cv-10694-TSH Document 13-1
                                                            20-5 Filed 09/20/21
                                                                       03/29/24 Page 29 of 53
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a) receiving a          The WizIQ necessarily includes a receiver configured to receive a request message including data
request                 indicating requested media content (e.g., the WizIQ must have the infrastructure to receive a request to
message                 store recorded media content or to stream recorded media content on a smartphone; additionally, the
including media         request message must contain data that identifies the content to be stored or streamed) and a consumer
data indicating         device identifier corresponding to a consumer device (e.g., the user credentials are used to access the
requested               contents of the WizIQ).
media content
and a consumer
device identifier
corresponding
to the consumer
device;




                                        World's first fully brand-able mobile apps

                                        WizlQNetGencomes with the world's first fully customizableand
                                        brand-ablemobile learningapplicationsfor iOSand Android.
                                        Createbrandedlearningexperiencesand reachyour audience
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                        Source: https://www.wiziq.com/wiziq-nextgen/




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                               Case 5:24-cv-00703-PCP
                                    4:21-cv-10694-TSH Document 13-1
                                                               20-5 Filed 09/20/21
                                                                          03/29/24 Page 30 of 53
Privileged & Confidential
Attorney Work Product



                                fedorms        al-time· audio and video r cord·ng i 1th backgrom d when lnstruccors a.r
                                l.i' estream.ing their classes. This feanu-e enables the i.ustm,ctorsto create a recording of all ti11e
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                        Source: https://help.wiziq.com/portal/en/kb/articles/live-class-scheduling-and-it-s-features



                             An LMS Software (such as WizlQ's) can be cloud-based, thereby reducing setup,
                             installation and maintenance costs, efforts, and time. A learning management
                             system lets you manage all aspects of instruction and learning including course
                             creation, course management, live classes, test and assessments, analytics,
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                            WizlQ is an easy way to teach and train online. It's a cloud-based learning delivery platform with a suite of integrated
                            features - including virtual classroom, course management, content authoring, video streaming, tests and
                            assessments, insights and analytics and mobile learning.


                        Source: https://www.wiziq.com/about-us/




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                            Case 5:24-cv-00703-PCP
                                 4:21-cv-10694-TSH Document 13-1
                                                            20-5 Filed 09/20/21
                                                                       03/29/24 Page 31 of 53
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                                                                      Integratedlibrary

                            Upload, organize and store your content in the cloud and access it from anywhere at anytime. The
                            integrated library supports all types of files, saving the hassle of transferring and carrying data. Upload
                            text, audio, video, PPT, and HTML files in different formats (PDF,DOC, DOCX,XLS, XLSX, PPT, PPTX, WAV,
                            WMA, MP3, MOV, AVG, MPEG, WMV, MP4, JPEG, GIF, PNG). The cloud storage saves the hassle of
                            transferring and carrying data. It's easy to search for content and share it with your audience. Also, once a
                            content resource is uploaded to the library, you can reuse it for different classes.

                        Source: https://www.wiziq.com/virtual-classroom/



                                                         WizIQ
                                                         Sign in


                                                         Email




                                                                                             Ne-w ser? Sign up



                        Source: https://www.wiziq.com/sign-in/




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                               Case 5:24-cv-00703-PCP
                                    4:21-cv-10694-TSH Document 13-1
                                                               20-5 Filed 09/20/21
                                                                          03/29/24 Page 32 of 53
Privileged & Confidential
Attorney Work Product

b) determining              The defendant’s Product necessarily determines whether the consumer device identifier corresponds to
whether      the              the registered consumer device (e.g., a user must be a registered user to access WizIQ services).
consumer
device identifier
corresponds to                  WizlQ also comes with Android and native iOS mobile apps are known as WizlQXT to let the
a     registered
consumer                        interested learners access eContent on the go. They can log in using their smartphones or
device; and                     other Internet-enabled devices, check notifications, and attend classes to enjoy a self-paced
                                learning approach.
                                     • Supports mobile-led learning for easy course access
                                     • Custombrandingfor your online courses delivered via apps

                        Source: https://helpiewp.com/wiziq/


                                                          WizIQ
                                                          Sign in


                                                          Email




                                                                                        New User? Sign up



                        Source: https://www.wiziq.com/sign-in/




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                               Case 5:24-cv-00703-PCP
                                    4:21-cv-10694-TSH Document 13-1
                                                               20-5 Filed 09/20/21
                                                                          03/29/24 Page 33 of 53
Privileged & Confidential
Attorney Work Product

c)   if     it   is         The defendant’s Product necessarily determines whether the consumer device identifier corresponds to
determined that               the registered consumer device (e.g., a user must be a registered user to access WizIQ services).
the     consumer
device identifier
corresponds to                  WizlQ also comes with Android and native iOS mobile apps are known as WizlQXT to let the
the     registered
consumer                        interested learners access eContent on the go. They can log in using their smartphones or
device, then:                   other Internet-enabled devices, check notifications, and attend classes to enjoy a self-paced
                                learning approach.
                                     • Supports mobile-led learning for easy course access
                                     • Custombrandingfor your online courses delivered via apps

                        Source: https://helpiewp.com/wiziq/


                                                          WizIQ
                                                          Sign in


                                                          Email




                                                                                        New User? Sign up



                        Source: https://www.wiziq.com/sign-in/




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                              Case 5:24-cv-00703-PCP
                                   4:21-cv-10694-TSH Document 13-1
                                                              20-5 Filed 09/20/21
                                                                         03/29/24 Page 34 of 53
Privileged & Confidential
Attorney Work Product

d) determining,         The Product provides for both media downloads and/or storage, and media streaming. As per the
whether     the         information available, after successful login, it necessarily determines whether the request received from
request                 a customer is a request for storage (e.g., recording or storing content) or content (e.g., streaming of
message is one          media content).
of a storage
request
message and a
content request
                                                              W1zIQ
message; and
                                                              Sign in


                                                              Email




                                                                                                      New ser? Sign up




                        Source: https://www.wiziq.com/sign-in/


                            • Cloud-based:This is an off-premise option, known as Saas - Software as a Service. It is hosted in the cloud, and you
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                              after you purchase your subscription. It works like any rented service and can be started, stopped and scaled at any time.
                              That's how WizlQ works.



                        Source: https://www.wiziq.com/virtual-classroom/



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                            Case 5:24-cv-00703-PCP
                                 4:21-cv-10694-TSH Document 13-1
                                                            20-5 Filed 09/20/21
                                                                       03/29/24 Page 35 of 53
Privileged & Confidential
Attorney Work Product




                            Server-side recording1

                            The automatedserver-siderecording(SSR)works in the backgroundwhen a
                            class is streaming live. The recordingis captureddirectly on our server,which.
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                            Ubraryin MP4 formatwithin minutesof the end of your session.Becausethe Uve
                            sessionis capturedon our servers,internetspeedof attendeesdoes not impact
                                                 Multi~bitrate (IMBR) streamingadapts live stream1ing
                            the recordingquall1ity.                                                 to an
                            attendee's internet bandwidth and CPU capacity - hence very little buffering even
                            on low-endconnections.WhileSD(640p) recordingis a defaultf,eature,HD(72.0p)
                            and full HD (1080p) video r,ecordingcapabilitiesar,eavailablein the Enterprise
                            plan.


                        Source: https://www.wiziq.com/virtual-classroom/




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                              Case 5:24-cv-00703-PCP
                                   4:21-cv-10694-TSH Document 13-1
                                                              20-5 Filed 09/20/21
                                                                         03/29/24 Page 36 of 53
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e) if the request       The product verifies that media content identified in the media data of the storage request message (e.g.,
message is the          request to record content) is available for storage to prevent data errors that would result from attempting
storage request         to store content that is not available for storage. It must verify that the media content (e.g. specific
message, then           recording) identified in the media data of the storage request message is available for storage to prevent
determining             data errors that would result from attempting to store content that is not available for storage (e.g. the
whether       the       product must verify a user’s ability to store video is limited to a certain amount of memory usage based
requested               upon their subscription, thus media content may not be available for storage if a user is already above
media content is        their memory limit or if he hasn’t subscribed to any service).
available      for
storage; and

                                                                            Integratedlibrary

                             Upload, organize and store your content in the cloud and access it from anywhere at anytime. The
                             integrated library supports all types of files, saving the hassle of transferring and carrying data. Upload
                             text, audio,video, PPT,and HTML files in different formats (PDF,DOC, DOCX,XLS, XLSX, PPT, PPTX, WAV,
                             WMA, MP3, MOV, AVG, MPEG, WMV, MP4, JPEG, GIF, PNG). The cloud storage saves the hassle of
                             transferring and carrying data. It's easy to search for content and share it with your audience. Also, once a
                             content resource is uploaded to the library, you can reuse it for different classes.

                        Source: https://www.wiziq.com/virtual-classroom/


                            • Cloud-based: This is an off-premise option, known as Saas - Software as a Service. It is hosted in the cloud, and you
                              practically don't need anything on-site other than a basic computing device and an internet connection. The
                              customizations can be done only by your service provider. With the cloud-based option, you can go live within minutes
                              after you purchase your subscription. It works like any rented service and can be started, stopped and scaled at any time.
                              That's how WizlQ works.

                        Source: https://www.wiziq.com/virtual-classroom/


                                                                           10
                            Case 5:24-cv-00703-PCP
                                 4:21-cv-10694-TSH Document 13-1
                                                            20-5 Filed 09/20/21
                                                                       03/29/24 Page 37 of 53
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                            Server-side r,ecordiing1

                            The automatedserver-siderecording(SSR)works in the backgroundwhen a
                            class is streaminglive,.The recordingis captureddirectly on our server,which.
                            means it doesn't co:nsumeyour device computing r,esources.As no upload
                            happens from your and your attendees' devices, delivering and attending classes
                            on devioes with low-end CPUs is possible. The recording is available in your
                            Ubraryin MP4 formatwithin minutesof the end of your session.Becausethe live
                            sessionis capturedon our servers,,internetspe,edof attende,esdoes not impact
                            the recordingqual1ity.Multi-bitrate(IMBR)streamingadapts live stream1ing
                                                                                                   to an
                            attendee's internet bandwidth and CPU capacity - hence very little buffering even
                            on low-end connections. While SD (640p) recording is a default f,eature,HD (72.0p)
                            and full-HD (1080p) video r,ecordingcapabilitiesar,eavailablein the Enterprise
                            plan.


                        Source: https://www.wiziq.com/virtual-classroom/




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                              Case 5:24-cv-00703-PCP
                                   4:21-cv-10694-TSH Document 13-1
                                                              20-5 Filed 09/20/21
                                                                         03/29/24 Page 38 of 53
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f) if the request If a customer requests content (e.g., streaming of media content), then the product necessarily initiates
message is the delivery of the content to the customer’s device. It will initiate delivery of the requested media content to
content request the consumer device (e.g. streaming of media content feed to a smartphone or tablet etc.).
message, then
initiating delivery
of the requested
media content to
the      consumer
device;




                                                      World's first fully brand-able mobile apps

                                                      WizlQNetGencomes with the world's first fully customizableand
                                                      brand-ablemobile learningapplicationsfor iOSand Android.
                                                      Createbrandedlearningexperiencesand reachyour audience
                                                      right on their smartphones.

                        Source: https://www.wiziq.com/wiziq-nextgen/


                            • Cloud-based: This is an off-premise option, known as Saas - Software as a Service. It is hosted in the cloud, and you

                              practically don't need anything on-site other than a basic computing device and an internet connection. The
                              customizations can be done only by your service provider. With the cloud-based option, you can go live within minutes
                              after you purchase your subscription. It works like any rented service and can be started, stopped and scaled at any time.
                              That's how WizlQ works.

                        Source: https://www.wiziq.com/virtual-classroom/


                                                                           12
                            Case 5:24-cv-00703-PCP
                                 4:21-cv-10694-TSH Document 13-1
                                                            20-5 Filed 09/20/21
                                                                       03/29/24 Page 39 of 53
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                            Server-side r,ecordiing1

                            The automatedserver-siderecording(SSR)works in the backgroundwhen a
                            class is streaminglive,.The recordingis captureddirectly on our server,which.
                            means it doesn't co:nsumeyour device computing r,esources.As no upload
                            happens from your and your attendees' devices, delivering and attending classes
                            on devioes with low-end CPUs is possible. The recording is available in your
                            Ubraryin MP4 formatwithin minutesof the end of your session.Becausethe live
                            sessionis capturedon our servers,,internetspe,edof attende,esdoes not impact
                            the recordingqual1ity.Multi-bitrate(IMBR)streamingadapts live stream1ing
                                                                                                   to an
                            attendee's internet bandwidth and CPU capacity - hence very little buffering even
                            on low-end connections. While SD (640p) recording is a default f,eature,HD (72.0p)
                            and full-HD (1080p) video r,ecordingcapabilitiesar,eavailablein the Enterprise
                            plan.


                        Source: https://www.wiziq.com/virtual-classroom/




                                                                13
                            Case 5:24-cv-00703-PCP
                                 4:21-cv-10694-TSH Document 13-1
                                                            20-5 Filed 09/20/21
                                                                       03/29/24 Page 40 of 53
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g) wherein the The media data includes time data that indicates a length of time to store the requested media content
media        data (e.g. a user can store media content till the end of their current pay period (i.e. last day of their annual
includes     time subscription) when they cancel their membership).
data          that
indicates        a
length of time to    • Cloud-based:This is an off-premise option. known as Saas - Software as a Service. It is hosted in the cloud, and you
store          the      practically don't need anything on-site other than a basic computing device and an internet connection. The
requested
media content;         customizations can be done only by your service provider. With the cloud-based option, you can go live within minutes
and                     after you purchase your subscription. It works like any rented service and can be started, stopped and scaled at any time.
                             That's how WizlQ works.

                        Source: https://www.wiziq.com/virtual-classroom/

                                                        WizlQ plans and pricing
                                                        WizlQ pricing starts from $25/month (billed annually).


                                                                 Live ClassroomCD                  LearningManagementSystem




                        Source: https://www.wiziq.com/pricing/

                                   Performs real-time imdio and video recording i 1 the backgrou !ldlwhen instructors a.re
                                   livestreamtng their class,es. This feanu:e enables he instmctors to create a recording of all d11.e
                                   acti iti s they perform on ·rhe ~-izIQ       sc11een. 1he r-ecordings aire a Hable iu the MP I format
                                   within di Library area of the ·nstructors. urdrr the instmcto.rs c-anshare th r: cordin s wjth
                                   th,eir ~ea.rue.rsor save them for future use. By defauh, aJl recordings are available in SD (640p):
                                   HD, 20p and full-HD 1080p) vid,eo recording capabilities a.re a, ailable in the .Enterprise
                                   pri in plan.


                        Source: https://help.wiziq.com/portal/en/kb/articles/live-class-scheduling-and-it-s-features


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                            Case 5:24-cv-00703-PCP
                                 4:21-cv-10694-TSH Document 13-1
                                                            20-5 Filed 09/20/21
                                                                       03/29/24 Page 41 of 53
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                                                        Enterprise                                             Pay-per-Use
                                     B     orco   es&                               prep




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                        Source: https://www.wiziq.com/pricing/




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                               Case 5:24-cv-00703-PCP
                                    4:21-cv-10694-TSH Document 13-1
                                                               20-5 Filed 09/20/21
                                                                          03/29/24 Page 42 of 53
Privileged & Confidential
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h)    the   first            The product must determine whether the requested media content exists before initiating delivery to
processor      is           prevent data errors that would result from attempting to transmit media content that does not exist (e.g.
further                                the product must verify that a particular requested data is stored within the app).
configured     to
determine
whether      the
                                 An LMS Software (such as WizlQ's) can be cloud-based, thereby reducing setup,
requested                        installation and maintenance costs, efforts, and time. A learning management
media content                    system lets you manage all aspects of instruction and learning including course
exists; and                      creation, course management, live classes, test and assessments, analytics,
                                 eCommerce, as well as mobile learning.

                        Source: https://www.wiziq.com/lms-software/

                                 WizlQ is an easy way to teach and train online. It's a cloud-based learning delivery platform with a suite of integrated
                                 features - including virtual classroom, course management, content authoring, video streaming, tests and
                                 assessments, insights and analytics and mobile learning.


                        Source: https://www.wiziq.com/about-us/


                                                                               Integrated library

                                 Upload, organize and store your content in the cloud and access it from anywhere at anytime. The
                                 integrated library supports all types of files, saving the hassle of transferring and carrying data. Upload
                                 text, audio, video, PPT, and HTML files in different formats (PDF,DOC, DOCX,XLS, XLSX, PPT, PPTX, WAV,
                                 WMA, MP3, MOV, AVG, MPEG, WMV, MP4, JPEG, GIF, PNG). The cloud storage saves the hassle of
                                 transferring and carrying data. It's easy to search for content and share it with your audience. Also, once a
                                 content resource is uploaded to the library, you can reuse it for different classes.


                        Source: https://www.wiziq.com/virtual-classroom/


                                                                              16
                            Case 5:24-cv-00703-PCP
                                 4:21-cv-10694-TSH Document 13-1
                                                            20-5 Filed 09/20/21
                                                                       03/29/24 Page 43 of 53
Privileged & Confidential
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i)      if     the After the processor determines if the requested media content is available, then it determines whether
processor           there are any restrictions associated with the requested media content (e.g., subscription level, etc.).
determines that
the     requested
media content
exists,
processor
further
configured
determine
              the
                 is

                to                                        ACAD
                                                                      -
whether       the
requested
media content is
available     and                            World'sfirst              fully   brand-ablemobileapps
whether     there
are restrictions
                                             WizlQ NetGencomes with the world's first fully customizableand
associated with
the     requested                            brand-ablemobile learningapplicationsfor iOSand Android.
media content                                Createbrandedlearningexperiencesand reachyour audience
that prevent the
                                             right on their smartphones.
requested
media content
from        being Source: https://www.wiziq.com/wiziq-nextgen/
delivered to the
consumer               • Cloud-based:This is an off-premise option. known as Saas - Software as a Service. It is hosted in the cloud. and you
device.                  practically don't need anything on-site other than a basic computing device and an internet connection. The
                            customizations can be done only by your service provider. With the cloud-based option, you can go live within minutes
                            after you purchase your subscription. It works like any rented service and can be started, stopped and scaled at any time.
                            That's how WizlQ works.

                        Source: https://www.wiziq.com/virtual-classroom/


                                                                         17
                            Case 5:24-cv-00703-PCP
                                 4:21-cv-10694-TSH Document 13-1
                                                            20-5 Filed 09/20/21
                                                                       03/29/24 Page 44 of 53
Privileged & Confidential
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                                                                           Integrated library

                                 Upload, organize and store your content in the cloud and access it from anywhere at anytime. The
                                 integrated library supports all types of files, saving the hassle of transferring and carrying data. Upload
                                 text, audio,video,PPT,and HTML files in different formats (PDF,DOC, DOCX,XLS, XLSX, PPT, PPTX, WAV,
                                 WMA, MP3, MOV, AVG, MPEG, WMV, MP4, JPEG, GIF, PNG). The cloud storage saves the hassle of
                                 transferring and carrying data. It's easy to search for content and share it with your audience. Also, once a
                                 content resource is uploaded to the library, you can reuse it for different classes.


                        Source: https://www.wiziq.com/virtual-classroom/


                                      Server-side recording

                                      The automatedserver-siderecording(SSR) works in the background when a
                                      class is streaming live. The recording is captured directly on our server, which
                                      means it doesn't consume your device computing resources. As no upload
                                      happens from your and your attendees' devices, delivering and attending classes
                                      on devices with low-end CPUs is possible. The recording is available in your
                                      Library in MP4 formatwithin minutes of the end of your session. Because the live
                                      session is captured on our servers, internet speed of attendees does not impact
                                      the recording quality. Multi-bitrate(MBR) streaming adapts live streaming to an
                                      attendee's internet bandwidth and CPU capacity - hence very little buffering even
                                      on low-end connections. While SD (640p) recording is a default feature, HD (720p)
                                      and full-HD (1080p) video recordingcapabilities are available in the Enterprise
                                      plan.


                        Source: https://www.wiziq.com/virtual-classroom/


                                                                         18
                            Case 5:24-cv-00703-PCP
                                 4:21-cv-10694-TSH Document 13-1
                                                            20-5 Filed 09/20/21
                                                                       03/29/24 Page 45 of 53
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                                  Perfoi.ims real-time :lmdio and video recording i 1 the backgrou 1dlwhen instructors a.re
                                  livestreamtng theu class,es. This feanu:e enables he instmctors to create a recording of all d11.e
                                  acti- ities they perform on ·rhe\.\ izIQ       scr-een. be r-ecordingsare a ilable in the MP4-format
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                                                                                                         ca shar, th re o!din.gs with
                                  their i am rs or save th m for future us . B default, aJl re-cordings are availabl in SD (6 ,{Ip):
                                  HD,      Op and full-HD 1080p) vid,eo recording capabilities are a, a"Lable in the Enterprise
                                  pri in plan.


                        Source: https://help.wiziq.com/portal/en/kb/articles/live-class-scheduling-and-it-s-features




                                                                      19
Case 5:24-cv-00703-PCP
     4:21-cv-10694-TSH Document 13-1
                                20-5 Filed 09/20/21
                                           03/29/24 Page 46 of 53




                EXHIBIT C
8/27/2021                         Case 5:24-cv-00703-PCP
                                       4:21-cv-10694-TSHWizIQ
                                                           Document        13-1
                                                                           20-5
                                                              - Overview, News     Filed 09/20/21
                                                                                          03/29/24
                                                                               & Competitors              Page 47 of 53
                                                                                             | ZoomInfo.com


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                  WizIQ
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                                               WizIQ                                                                                                  Nupendra Arora
                                                                                                                                                      Manager, Business Developm

                                                                                                                                                      ~ Phone       ~ Email

                                                                                                                                                      Pankaj Bharti
                                                                                                                                                      Senior Sales Manager
        \ii      View Email Formats for WizIQ
                                                                                                                                                      ~ Phone       ~ Email

                                                                                                                                                      Gitanjali Maggo
                                                                                                                                                      Manager
            Description
                                                                                                                                                      ~ Phone       ~ Email
            WizIQ was founded in 2007, and is based in North Carolina. WizIQ provides online learning and training for a
            variety of topics.... Read More                                                                                                           Harry Anthony
                                                                                                                                                      Business Development Mana
                                                                                                                                                          Phone          Email
            ~     Headquarters: 91 Springboard, Building Number-145, Sector 44 Road, Sector 44,, Haryana, India

                                                                                                                                                      Irshad Mir
            ~     Phone: +91 99108 40661                                                                                                              Business Development Mana

                                                                                                                                                      ~ Phone       ~ Email
            G Website: www.wiziq.com
                                                                                                                                                      Rishi Sengupta
            ~     Employees: 300                                                                                                                      Vice President, Sales (India)

                                                                                                                                                      ~ Phone       ~ Email
            <:JJRevenue: $44 Million
                                                                                                                                                      Moin Uddin
                                                                                                                                                      Manager
            Update Company                  View contact profiles from WizIQ
                                                                                                                                                      ~ Phone       ~ Email
            SIC Code 82,824              NAICS Code 6243,624310      Show More
                                                                                                                                                      Nitika Ambardar
                                                                                                                                                      Customer-Success Manager
            Popular Searches:
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             Training              Education       Business Services General           Business Services




            Top Competitors of WizIQ



             1                                                  2                                          3




                                Udacity                                   MasterClass                             SkillShare


                         320              $67 Million                  250            $128 Million             470         $80 Million




             4                                                  5                                          6



https://www.zoominfo.com/c/wiziq-inc/312639542                                                                                                                                   1/5
8/27/2021                Case 5:24-cv-00703-PCP
                              4:21-cv-10694-TSHWizIQ
                                                  Document        13-1
                                                                  20-5
                                                     - Overview, News     Filed 09/20/21
                                                                                 03/29/24
                                                                      & Competitors              Page 48 of 53
                                                                                    | ZoomInfo.com


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                  650            $136 Million              779          $293 Million                     500       $59 Million
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            WizIQ's Org-Chart




        Phone           Email


                                                                                          l


                                                              Ravindra Gupta
                            Rishi Sengupta                 Vice President, Finance &
                     Vice President, Sales (India)                 Accounts
                         Phone          Email              Phone          Email                  Phone         Email             Phone         Email




                                                                              See Full Org-Chart




            WizIQ Company Metrics




                                           Company
                                           Company Insights
                                                   Insights                                                            Employee
                                                                                                                       Employee Growth
                                                                                                                                Growth Rate
                                                                                                                                       Rate



                Funding


                Funding Date                    Round            Amount           Investors



                Jan 23, 2013                    Series B         <$5M             Kaizen / Bertelsmann
                                                                                                                                         <$5M
                                                                                                                                         Total Funding
                See More                                                                                                                   Amount




                                                                                                                                         <$5M
                                                                                                                                       Most Recent
                                                                                                                                     Funding Amount




                                                                                                                                              1
                                                                                                                                    Number of Funding
                                                                                                                                        Rounds


https://www.zoominfo.com/c/wiziq-inc/312639542                                                                                                                       2/5
8/27/2021              Case 5:24-cv-00703-PCP
                            4:21-cv-10694-TSHWizIQ
                                                Document        13-1
                                                                20-5
                                                   - Overview, News     Filed 09/20/21
                                                                               03/29/24
                                                                    & Competitors              Page 49 of 53
                                                                                  | ZoomInfo.com


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            Revenue
        Overview   Competitors                  Org Chart         Company Insights       Search for a contact or company         Advanced Search




            WizIQ's Tech Stack




              Google Analytics                  WordPress               Facebook SDK       Google Universal          Cloudflare CDN                Glob
                                                                                              Analytics
                     By                             By                       By                     By                      By                        B

                   Google                       Automattic                Facebook              Google                   Cloudflare         GMO Inter




                                                                                                                           See more technologies




            Frequently Asked Questions regarding WizIQ



               Where are WizIQ’s headquarters?

               WizIQ’s headquarters are in 91 Springboard, Building Number-145,
               Sector 44 Road, Sector 44,, Haryana, India




               What is WizIQ’s phone number?
               WizIQ’s phone number is +91 99108 40661




               What is WizIQ’s official website?

               WizIQ’s official website is www.wiziq.com




               What is WizIQ’s Revenue?

               WizIQ’s revenue is $44 Million




               What is WizIQ’s SIC code?

               WizIQ’s SIC: 82,824




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8/27/2021              Case 5:24-cv-00703-PCP
                            4:21-cv-10694-TSHWizIQ
                                                Document        13-1
                                                                20-5
                                                   - Overview, News     Filed 09/20/21
                                                                               03/29/24
                                                                    & Competitors              Page 50 of 53
                                                                                  | ZoomInfo.com


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                             Industry
             WizIQ’s NAICS: 6243,624310
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        Overview        Competitors               Org Chart        Company Insights                Search for a contact or company             Advanced Search
             How many employees are working in WizIQ?

             WizIQ has 300 employees




             What is WizIQ’s industry?
             WizIQ is in the industry of: Training, Education, Business Services
             General




             Who are WizIQ’s main competitors?

             WizIQ's main competitors are: Udacity, MasterClass, SkillShare, Udemy




             What is WizIQ's tech stack?

             The technologies that are used by WizIQ are: Google Analytics,
             WordPress, Facebook SDK, Google Universal Analytics




                                                                                                                         See more information about WizIQ




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                   Buyer Intent Data                          FAQs                       Claim Profile                      Newsfeed

                   CRM Lead Enrichment                        Careers                    Browse Directories                 Recipes for
                                                                                                                            Success
                                                              Contact Us                 People Search
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                                                                                         Company Search



https://www.zoominfo.com/c/wiziq-inc/312639542                                                                                                                   4/5
8/27/2021              Case 5:24-cv-00703-PCP
                            4:21-cv-10694-TSHWizIQ
                                                Document        13-1
                                                                20-5
                                                   - Overview, News     Filed 09/20/21
                                                                               03/29/24
                                                                    & Competitors              Page 51 of 53
                                                                                  | ZoomInfo.com


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Case 5:24-cv-00703-PCP
     4:21-cv-10694-TSH Document 13-1
                                20-5 Filed 09/20/21
                                           03/29/24 Page 52 of 53




                EXHIBIT D
     4:21-cv-10694-TSH Document 13-1
Case 5:24-cv-00703-PCP          20-5 Filed 09/20/21
                                           03/29/24 Page 53 of 53




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